Case: 1:10-cv-02946 Document #: 32 Filed: 09/24/10 Page 1 of 2 PagelD #:482

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

UNITED STATES OF AMERICA,

Plaintiff,
v.

COOK COUNTY, ILLINOIS;

THOMAS DART, COOK COUNTY

SHERIFF (in his official capacity);

TODD H. STROGER, COOK COUNTY
BOARD PRESIDENT (in his official capacity);
COOK COUNTY BOARD OF
COMMISSIONERS (in this official capacity),

Defendants.

No. 10 C 2946
Judge Richard Posner
Judge Virginia Kendall

Judge Sharon Johnson Coleman

 

NOTICE OF FILING

To: All Counsel of Record
(See Attached Service List)

PLEASE TAKE NOTICE that on September 24, 2010, we caused to be filed with
the Clerk of the United States District Court for the Northern District of Illinois, Eastern
Division: Monitor Harry Grenawitzke’s First Compliance Report.

Thomas J. Dart, Sheriff of Cook County

By: s/Daniel F. Gallagher

 

Daniel F. Gallagher

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PROOF OF SERVICE
I, Daniel F. Gallagher, after first being duly sworn on oath, depose and state that I served
this Notice of Filing together with the documents herein referred to the above-named attorney(s)
pursuant to ECF and shall comply with L.R.5.5 as to any party who is not a Filing User or

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s/ Daniel F. Gallagher

 
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SERVICE LIST

USA v. Cook County, et al.
Case No: 10 C 2946
Judge Virignia Kendall

 

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Document #: 1522033
